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Attorneys for Defendants Gavin Newsom and the
California Department of Corrections and
Rehabilitation
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CDCR                                                            INCIDENT REPORT PACKAGE                                       PAGE:    22
REPORT NO.                                                                                                               PROCESSED: 09/23/2020 10:00
                                                      INCIDENT LOG NUMBER:                                               REQUESTOR: A. Lugo

                                                                       STAFF NARRATIVE

                            STAFF NAME: Quintero, M                                                    NARRATIVE TYPE: Initial Report
                         CREATED DATE: 04/15/2020                                                         CREATED TIME: 14:51:49

                                                                         NARRATIVE

  While performing my duties as Facility C Building 1 Control Booth Officer, I was releasing inmates to receive their morning medication, when I observed Inmate
        approach Inmate            from behind.        began to strike         in the upper back with what appeared to be a closed fist in a stabbing motion. Due
  to my position and location of the incident, I was unable to observe anything further. I immediately advised Central Control via the institution radio and
  requested a "Code 1" Response before activating my personal alarm device. I ordered all inmates to get down to which all inmates complied including            and
                     separated from        and got down into a prone position on the floor. Due to         physical disabilities he remained standing but complied
  with all lawful orders.
  Officer A. Katravas escorted       to the lower B shower to isolate him as medical assistive device hindered handcuff placement. I notified Katravas that the
  shower water was turned off and the inmate had no access to water. Once              was handcuffed he was immediately escorted out of the housing unit without
  further incident.

   M. Quintero                                                                                               DATE: 04/15/2020
  STAFF SIGNATURE

                                                                                                           PERNR: 106073
                                         BADGE #: 90038

                        NARRATIVE REVIEWED: Yes                                            REVIEWED BY STAFF: Barbato, D
                                REVIEWED DATE: 04/15/2020                                      REVIEWED TIME: 15:00:49
